     Case: 1:16-cv-04205 Document #: 24 Filed: 06/17/16 Page 1 of 3 PageID #:232




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ELISA WOLTER and MARIA G. BOK,                 )
by her daughter and next friend ELISA          )
WOLTER, individually and on                    )
behalf of a class,                             )
                                               )
        Plaintiffs,                            )       Case No. 16-cv-04205
                                               )       Honorable Judge Robert W. Gettleman
        v.                                     )       Magistrate Judge Valdez
                                               )
ANSELMO LINDBERG OLIVER LLC,                   )
                                               )
        Defendant.                             )

                                          STIPULATION

        Defendant Anselmo Lindberg Oliver, LLC, hereby stipulates that it will not make any

offer or tender to Plaintiffs, including but not limited to an offer pursuant to Fed. R. Civ. P. 68,

or tender, or a deposit of the full amount of the plaintiffs’ individual claim in an account payable

to the plaintiffs.

        However, this stipulation does not preclude Defendant from serving an offer or tender to

Plaintiffs in the following circumstances: (1) If Defendant sends all counsel of record for

Plaintiffs an e-mail notifying Plaintiffs that Defendant intend to serve an offer or tender on an

individual basis, then Defendant may serve such tender or offer beginning on the seventh day

after the e-mail notification was sent (but not before such time); (2) Defendant may serve an

offer or tender on a class wide basis at any time. In consideration of the foregoing, Plaintiffs

stipulate to withdraw the pending motion for class certification without prejudice.




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Respectfully submitted,



s/Michelle A. Alyea
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One of the Attorneys for Plaintiff

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                                CERTIFICATE OF SERVICE

       I, Michelle A. Alyea, hereby certify that on June 17, 2016, I caused a true and accurate
copy of the foregoing document to be filed via the courts CM/ECF online system, which
sent notice via email to each of the following parties:

David M Schultz (dschultz@hinshawlaw.com)
Jason L Santos (jsantos@hinshawlaw.com)
Justin Penn (jpenn@hinshawlaw.com)


                                                                   s/Michelle A. Alyea
                                                                   Michelle A. Alyea



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